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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

United States of America,                               Criminal No. 09-172 (MJD/SRN)

                     Plaintiff,

v.                                                                               ORDER

(18) Hao Thi Doan,

                     Defendants.



      This matter is before the Court on the Report and Recommendation of Magistrate

Judge Susan Richard Nelson dated October 13, 2010, recommending denial of the

Defendants’ respective motions to suppress evidence obtained as a result of a search. No

objections to the Report and Recommendation have been filed within the requisite time

period.

      Based on the foregoing, and all the files, records and proceedings herein, IT IS

HEREBY ORDERED that:

      Defendant Hao Thi Doan’s Motion to Suppress Evidence Obtained as a Result of

Search and Seizure (Doc. No. 577) is DENIED.


Dated: December 9, 2010
                                                s/Michael J. Davis
                                                MICHAEL J. DAVIS
                                                Chief Judge
                                                United States District Court
